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JUSTIN NOBLE: This is Special Agent Justin Noble, today’s date is May 1st, 2023. I’m here with an
FBI UCE and Eric – last name –
ERIC PERARDI: Perardi
NOBLE: Perardi. Um, we’re going to attempt to have a conversation with a Saint Jovite Youngblood,
um, to discuss attempted extortion of Mr. Perardi.
UNKNOWN MALE 1 (UM1): Well, well, well, look who it is.
UNKNOWN MALE 2 (UM2): [unintelligible]
FIEDLER (UCE): How far away is it?
PERARDI: From here, probably 5 minutes.
FIEDLER (UCE): Oh, okay.
PERARDI: Just right over here, on the other side of 183.
FIEDLER (UCE): He hit you back?
PERARDI: No.
FIEDLER (UCE): Let us know if he’s there?
PERARDI: No, not yet [unintelligible] charge this phone.
FIEDLER (UCE): What’s he drive?
PERARDI: It’s a Toyota something. He got in a wreck. That’s what he said, I don’t know. Lost his car
for a myriad of reasons, apparently, right?
FIEDLER (UCE): You don’t know where he’s from originally?
PERARDI: He said, uh, California and Michigan.
FIEDLER (UCE): Oh, California and—
PERARDI: Well, he was Michigan first, then California. Monrovia was where he was living in LA. He
doesn’t know that I know that.
FIEDLER (UCE): What’s your number?
PERARDI: 512-799-7016
[phone rings]
FIEDLER (UCE): You say your last name “Peradi,” right?
PERARDI: Perardi, yeah. Perardi.
FIEDLER (UCE): Perardi.                                                                      GOVERNMENT
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PERARDI: P-E-R-A-R-D-I
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FIEDLER (UCE): Like Pierogi but Pier-ard-i                                                 NO.____________________

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PERARDI: Yeah. Oh, man. What sports do you like?
FIEDLER (UCE): I like football—
PERARDI: Football, yeah.
FIEDLER (UCE): —baseball, basketball.
PERARDI: Yeah.
FIEDLER (UCE): Not a – I’m not a “gotta have the bat” craze, but I think the Confederate flag would be
cool as shit.
PERARDI: Yeah, it’s a cool—
FIEDLER (UCE): You ever find that picture of it?
PERARDI: Yeah.
FIEDLER (UCE): I looked it up, couldn’t find it.
PERARDI: I took a, sent the guy a picture the other day.
FIEDLER (UCE): Okay, yeah, I had not seen that one. I can’t find that one online either.
PERARDI: Yeah, it’s pretty original—
FIEDLER (UCE): Yeah.
PERARDI: —I mean, the guy that sold it was like, “It took me a lot to—
FIEDLER (UCE): Yeah.
PERARDI: —put back together.” You know, bulletproof case or whatever.
FIEDLER (UCE): Can you text me that picture?
PERARDI: Yeah.
PERARDI: This is where we parked last time. Oh, there he is, he’s sitting outside already.
FIEDLER (UCE): Oh, he got him an outside table.
PERARDI: Yeah.
PERARDI: [unintelligible] an outside table.
SAINT JOVITE YOUNGBLOOD: I figure it’s better than being inside. Your business shouldn’t be
anyone else’s. Lakota, nice to meet you.
FIEDLER (UCE): Pleasure.
YOUNGBLOOD: I figured it would better to be out here than inside.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I left mine in the car for obvious reasons.
PERARDI: Yeah, I turned mine off.

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FIEDLER (UCE): Do what?
PERARDI: Oh, he doesn’t like phones.
FIEDLER (UCE): Oh.
YOUNGBLOOD: It’s not smart. You got [unintelligible] out there.
FIEDLER (UCE): You want me to turn it off?
YOUNGBLOOD: I wouldn’t have it on me, personally, but that’s just – I, I never tell anyone what to do.
FIEDLER (UCE): Oh, okay, got you. Don’t worry about it.
YOUNGBLOOD: I take this situation serious. So, you do brick work, you do mason work, you do
concrete, what do you do?
FIEDLER (UCE): I do like concrete, but mostly red iron, steel, I build schools, and you name it. Yeah, I
do a little bit of everything.
YOUNGBLOOD: Saw the shirt, saw the tats.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: How long have you lived next door? Or relatively down the street? I’m like you—
FIEDLER (UCE): Like, about 5 or 6 years—
YOUNGBLOOD: —you won’t find any problems with me, I assure you.
FIEDLER (UCE): —where were you at?
YOUNGBLOOD: I was Delta.
FIEDLER (UCE): Oh, okay.
YOUNGBLOOD: Spent 7 years with them—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —spent 22 years in total, worked S-A-G, that’s my curriculum vitae. Worked special
activities group. My theater is the Ukraine, Russia.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: Was formerly Middle East. I speak Russian, I speak Pashtu, I speak Urdu, I speak
Arabic. Do not have any kind of theater as far as—
FIEDLER (UCE): Oh, oh, okay.
YOUNGBLOOD: —South America, Central America. That’s why I’m not a threat to these people. You
asked me a question over the phone, why I was the person—
FIEDLER (UCE): Right.
YOUNGBLOOD: —who could help this and get it done—
FIEDLER (UCE): Oh, yeah, ok.

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YOUNGBLOOD: —and the reason’s very simple, they know I don’t have any—
WAITER: How are we today, guys?
YOUNGBLOOD: We’re good, thank you.
FIEDLER (UCE): Good, buddy, how are you man?
WAITER: Doing pretty good. Can I start you with anything to drink, gang?
PERARDI: Could I have a water and a lemonade?
WAITER: Water and lemonade.
PERARDI: I got Mazlynne tonight, so…
YOUNGBLOOD: That’s a good thing.
PERARDI: Yeah.
WAITER: And for you, sir?
FIEDLER (UCE): Uh, uh, just a water is fine.
WAITER: Water [unintelligible].
FIEDLER (UCE): What beers – what do you have, uh, bottled?
WAITER: On bottle we have Coors Light, Miller Lite, Michelob Ultra, Corona, Dos Equis, Heineken,
Shiner.
FIEDLER (UCE): What about draft?
WAITER: Draft, we have Bud Light, Stella, uh, Shock Top…
FIEDLER (UCE): I’ll do a Stella.
WAITER: Stella? I’m a Stella guy myself, that’s the best one. Alright guys, want to start with any
appetizers or anything, still need a minute?
FIEDLER (UCE): Yeah, I’m hungry
UM1: I’m hungry, too.
UM2: Whatever you want as well.
WAITER: If we’re really hungry, we’ve got this combination appetizer that’s a good little sample of—
FIEDLER (UCE): Yeah, let’s try that—
UM1: Yeah, we’ll do that—
UM2: It includes everything in it, right?
WAITER: Alright, comin’ up guys.
YOUNGBLOOD: Thank you.
YOUNGBLOOD: None of us want to be here—

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FIEDLER (UCE): Army?
YOUNGBLOOD: I was.
FIEDLER (UCE): You were in the Army?
YOUNGBLOOD: Yes, I was.
FIEDLER (UCE): Oh, okay.
YOUNGBLOOD: 52nd Airborne, 504PIR.
FIEDLER (UCE): What years did you serve?
YOUNGBLOOD: ’93 to 2006 was my Active. Went to Special Activities—
FIEDLER (UCE): Oh, ok, ok.
YOUNGBLOOD: —Group. How about yourself?
FIEDLER (UCE): Yeah, I was in the Marines.
YOUNGBLOOD: I figured that; Navy Federal card, right?
FIEDLER (UCE): Yeah, no that’s, uh, Chase.
YOUNGBLOOD: That red one?
FIEDLER (UCE): Oh, the red one’s Bank of America.
YOUNGBLOOD: Got it.
FIEDLER (UCE): Yeah, but –
YOUNGBLOOD: What was your MOS?
FIEDLER (UCE): 352.
YOUNGBLOOD: 352?
FIEDLER (UCE): I was Infantry. You know, 03-11 when you start out—
YOUNGBLOOD: 03-11, ground-pounder.
FIEDLER (UCE): Yeah, mhm, did 03-52—
YOUNGBLOOD: Where’d you do, where’d you do, were you at Parris or were you at, uh—a surfer
Marine?
FIEDLER (UCE): No, I was at Parris Island.
YOUNGBLOOD: Ok.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: Bugs this big?
FIEDLER (UCE): Yeah, yeah, yeah, big, big, big, big bugs. But I was in 91-95, so… we didn’t do shit,
man.

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YOUNGBLOOD: I don’t think our paths crossed. No, I did all my jumping at Benning and did all my
sim flights there and then went back there.
FIEDLER (UCE): Oh, ok.
YOUNGBLOOD: Qualified for Delta, got called back after ’01.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: Didn’t expect to ever have—
FIEDLER (UCE): Oh, wow. Wow.
YOUNGBLOOD: —to do it again, expected to stay in finance—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —but didn’t go that way. And my friends made the joke, you know—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —have a nice day, you speak Arabic, you’re fucking done, and that’s pretty much
how it went.
FIEDLER (UCE): Oh, wow. Yeah, I don’t speak shit. Never wanted to speak shit.
YOUNGBLOOD: I’m curious what this one is. What’s this one?
FIEDLER (UCE): What’s this one, here? That’s Eagle, Globe, and Anchor.
YOUNGBLOOD: No, that’s what I thought but does it go, how far up does it go?
FIEDLER (UCE): Well, it goes all the way up here to my nips.
YOUNGBLOOD: Yeah, I kind of figured that’s what it was.
FIEDLER (UCE): Yeah, yeah. Yeah, most people see the bottom part—
YOUNGBLOOD: My old man was a Marine.
FIEDLER (UCE) —if you’re in the Marines, you know what that is.
YOUNGBLOOD: I was born in Okinawa—
FIEDLER (UCE): Oh, really?
YOUNGBLOOD: —at Smedley Butler. My old man worked for the embassies and then went to the FBI.
FIEDLER (UCE): Oh, okay, uh—
YOUNGBLOOD: People always wondered why I didn’t go into law enforcement, it’s like, to be honest,
I don’t trust ‘em. And I didn’t trust Central Intelligence—
FIEDLER (UCE): Yeah, went to, I was in Okinawa for a little bit. Uh, Kinser, which was south side of
the island, but Butler, we used to go to Butler all the time. To drink, raise hell—
YOUNGBLOOD: And then my old man—


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FIEDLER (UCE): —right outside—
YOUNGBLOOD: —went to Lejeune—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —and from Lejeune went to the FBI. So that was my story.
FIEDLER (UCE): Oh, wow, wow. What do you, what do you do now?
YOUNGBLOOD: I freelance—
FIEDLER (UCE): Oh, okay.
YOUNGBLOOD: —for the Department of Defense and I solve problems all over the country. We’ll
leave it at that, I hope—
FIEDLER (UCE): Ok.
YOUNGBLOOD: —that’s not, uh, a too, uh—
FIEDLER (UCE): No, no.
YOUNGBLOOD: —obscure answer—
FIEDLER (UCE): No. I mean, and I’ve talked to him a little bit, um, about the problem, you know, he’s
been having, and you know, so I was just kind of—
YOUNGBLOOD: We can speak very openly and this conversation never leaves—there’s a reason we’re
not inside and I’m a firm believer that you only get one chance to make a first impression—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —number one. And number two, there’s a lot of smart people out here. Around that
table there, somebody with a parabolic, obviously, could hear. So, out here, the odds are minimal, I’ve
been here around 27 times, I don’t think we’re at any threat.
WAITER: Here are your drinks.
FIEDLER (UCE): Thank you.
YOUNGBLOOD: Thank you.
WAITER: Appetizer will be out in just a minute.
YOUNGBLOOD: Yes, sir. He’s like a father to my son, I have great respect for him. I didn’t want to get
into this, certainly didn’t want to go as deep as I did and certainly didn’t want to have the headaches that I
have with my chain of command, we’ll leave it at that. I consider these people dangerous but not for the
reasons that you—Afghanistan.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I consider them dangerous but not necessarily for the reasons that you asked me on
the phone. Guilty by association’s a very real thing when you’re building a case, you can get destroyed
instantly. Reputation’s what people think, character’s what you are. That terrifies me. Do I consider Mr.
Barajones a very big problem? I do. Was I concerned until a day or two ago about the situation? I was.

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I’m more concerned now because that’s not the kind of guy with a $10 million bounty that you want your
ex to be—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —associated with. It does not matter if it’s horseshit or not. What matters is that’s
what’s being printed. 5,000 people can see that online and however many people they twit it to – I don’t
do social media. I don’t carry a cellphone—
FIEDLER (UCE): Yeah, I know, is that what you showed me? That—
YOUNGBLOOD: It’s this, this—
FIEDLER (UCE): —that Yelp thingy?
PERARDI: Yeah.
YOUNGBLOOD: This Maxilo Barajones is the equivalent of an El Chapo. In the 80s—
FIEDLER (UCE): Aw, man, I—
YOUNGBLOOD: —he would have been—
FIEDLER (UCE): —don’t know who that is—
YOUNGBLOOD: —he would have been the equivalent—
FIEDLER (UCE): —I know who El Chapo is, but I don’t know—
YOUNGBLOOD: He would have been the equivalent of the man himself, Escobar, back in the day. He’s
a very serious—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —person. You don’t want your name next to his, you’ll draw all kinds of three-letter
agencies—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —and you’ll draw his own people. Consider Rachel dangerous by her social circle.
She went after his son and tried to set up a problem that will be her undoing.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: The tape, the recorded calls, the cellphone records, and items that she left in a rental
car in Brownsville will be what puts her away and will be why he wins his divorce and wins Mazzy.
Without that, he has no chance of getting 100%. It just won’t happen, it’s Texas. The issue with Julie goes
much deeper than that. She’s in bed with the Cavender Group. Cavender Group was funded—Cavender
Auto Group—was funded—
FIEDLER (UCE): Oh, yeah.
YOUNGBLOOD: —by the Cardenas family.
FIEDLER (UCE): Uh-huh.



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YOUNGBLOOD: It’s been that way since the old man died, for about twenty years. It’s not spoken
about, but people in Houston know about it. People in Houston are aware of where the money’s coming
from and it’s dark money. To make a long story short, Rachel—promiscuity is a problem for Rachel.
She’s not a very honest woman.
FIEDLER (UCE): Yeah, we’ve talked about that.
YOUNGBLOOD: It’s who she’s sleeping with and who they did time with that create problems. Is she
by herself connected to the degree that her aunt is? Financially, yes. The problem with those texts and
those emails is, the dollar amounts and the banks are specific and they’re right. Now, is he involved?
Absolutely not. Here’s where you get into trouble: commingling. OFAC—Office of Foreign Asset
Control—will be Rachel and Julie’s undoing. You do those reports, you could pull out $300 grand, it
doesn’t matter. Fill out, fill out an 8300 form, what you do for a living – my case, okay, uh, business
owner, I own Athabasca. That’s what it says on my tax returns, it’s not what I do, it’s what it says. Fill out
the form, pull out the cash, have a nice day Mr. Youngblood—you’re done. Have an 83—you’re done.
Here’s the problem: you walk in, do the same thing, and you don’t fill out that form, it’s a huge problem.
Goes to the Treasury in Detroit, Michigan. There are seven different cases where Rachel didn’t do these
forms with people. Here’s what they’re trying to muddy the waters: all these messages are just white
noise, until they went after Barajones. They took Julie out of the picture and suddenly it was put 100%—
read the last one that he has—Rachel and he. They went after only them, in other words basically saying:
here—I hope it’s okay if I sit—here’s Los Zetas. Gulf Cartel. Everything east of Louisiana. Los Zetas –
breaks apart in 2010, you get seven different factions, all fighting for power. Head of that group:
Barajones, breaks away. The same—thank you so much.
WAITER: No problem, guys. Anybody want to start with any appetizers or anything, still need a minute?
I’m sorry, not appetizers, ready to order?
PERARDI: Yeah, we’ll take a minute.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: Thanks so much. Gulf Cartel. Los Zetas slash fractions. Sinaloa, everybody knows
what they are, otherwise known as El Chapo’s boys, okay—
FIEDLER (UCE): Right, right.
PERARDI: You want some of this, Joe?
FIEDLER (UCE): Oh, yeah, yeah, yeah.
PERARDI: —try some of that—
YOUNGBLOOD: Gulf Cartel hates—
PERARDI: You want one of these?
YOUNGBLOOD: No, I’m good, thank you very much. I’ll try one in a second, just one of those small
ones.
FIEDLER (UCE): Yeah, no worries.
YOUNGBLOOD: Los Zetas was too violent and thought the Gulf Cartel basically were pussies. Gulf
Cartel threw them out for being uncontrollable. Cardinas is the money—Cardenas, Cardinas, however you

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pronounce it—behind the Cavender Auto Group, and it’s the people that Julie is closest to. Two of these
clowns—
PERARDI: I’m going to go to the bathroom.
YOUNGBLOOD: —that Rachel is—
FIEDLER (UCE): Is that an Auto Group?
YOUNGBLOOD: Yes. Now all of this is in the Treasury and they’ve been investigating for thirteen
years, but like anything else, the Feds do thing, you know, like the military, their own sweet time. Hurry
up and wait. The issue with him, and now that he’s not here we can talk very openly—you asked me a
question, you don’t strike me as a fucking coward by any stretch of—
FIEDLER (UCE): No.
YOUNGBLOOD: —the imagination, nor am I—
FIEDLER (UCE): No, my concern is, is for him and his family—
YOUNGBLOOD: My concern is putting this to bed—
FIEDLER (UCE): What you’re telling me, man, I’m, I’m listening to it and I’m like, holy shit—
YOUNGBLOOD: It needs to be—
FIEDLER (UCE): —you know.
YOUNGBLOOD: —put to bed as, as soon as possible. I need—
FIEDLER (UCE): What do I gotta do to keep him safe?
YOUNGBLOOD: I have 20,000 dollars in my wallet, I already put up the hundred, two-hundred and
thirty-four thousand that I needed, if you want to count it, be my guest.
FIEDLER (UCE): No, no, no, no, I don’t need to count that.
YOUNGBLOOD: It’s exactly 96,000 short to what I need to get everything released for him.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: I will have two Pelican boxes that control the finances that for Julie—every
transaction the last 15—
FIEDLER (UCE): Right.
YOUNGBLOOD: —years, as a favor to me from friends of mine who that is their theater, every single
transaction that violates OFAC law. Rachel has three accounts out of this country with Julie—
FIEDLER (UCE): Right.
YOUNGBLOOD: —that she does not declare on her tax return.
FIEDLER (UCE): So what, what does it—if I give you the money to help him out, what, what does that
guarantee for him?
YOUNGBLOOD: They will pick up Rachel. Julie’s business will be decimated.

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FIEDLER (UCE): Ok.
YOUNGBLOOD: This debt that Rachel has—
FIEDLER (UCE): And he’s clear, he’s out of it.
YOUNGBLOOD: Yes, Rachel has a debt of 6.1 million and/or—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —this item with Los Zetas. That debt will be paid full—
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: —he’s off the hook, and this is a dead issue. I don’t how to put it any more succinct
and clear than that.
FIEDLER (UCE): Ohhh, okay, that makes sense. So him and her together acquired a debt—
YOUNGBLOOD: Yes.
FIEDLER (UCE): Ok.
YOUNGBLOOD: And so it does not matter if he knew about it: if my son, if my son screws up, it’s on
me.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: If you, you know, and once again I’m not getting in anyone’s business, but you know
how it is: shit flows downhill—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —and you’re tied to it. Commingling is what will be his undoing. Separating it and
having this and being able to prove it, they’re history.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: My federal friends, we all served together. Most of ‘em came out of Bragg. So I trust
Daniel with my life. He will crucify this woman. I don’t know if you’re aware of this, but the other day at
the airport, they made a mortal enemy of me. Threw lye in my face and tried to blind me. It is the first day
that my face is not bright red. Ask him about it.
FIEDLER (UCE): Here?
YOUNGBLOOD: Here. My wife is a physician.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: She was terrified for me. Called him immediately. So, that’s the kind of assholes
we’re dealing with here. I had no way of knowing who they were. They pulled up, I park here, literally
the last row of D as in Delta at Austin Bergstrom, they’re coming around here, there’s no line of sight. It’s
zero dark zero, so you can’t see anything anyway and just literally threw it. If I hadn’t been wearing
reading glasses, similar to these in shape but not style, I don’t know what would have happened. But I’ve
been spraying colloidal silver on my face for almost two weeks now—


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FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: —and it’s just starting to return to normal. But I do have burn marks, as you can see
on the hairline, from it. So that’s the kind of assholes we’re dealing with. Do I think that Rachel’s the
devil? I don’t care about him, I care about his phone. Since Amazon created this “Patio” program, in case
you’re wondering, every neighbor half a mile in every direction can piggy-back this, your home wifi, and
any device you have. No password, nothing. Military bought the technology.
FIEDLER (UCE): What’s it called?
YOUNGBLOOD: Amazon creates— It’s called Patio and it is terrifying. In other words, if I log in—and
this is not something I would joke about, okay, but—I logged into child, inappropriate child pictures, and
I piggybacked your system, they’re not coming to my house, they’re coming to yours. It’s terrifying,
what’s going on with technology. That’s why—you asked me a question, I would never disrespect you.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I would never disrespect him. You’ll never see me with one at a table, you’ll never
see me with one in a meeting, you’ll never see me with one when I travel. And when Customs asks me,
and they do, I say, “Well, I don’t like technology. I can’t control it, I can’t use it.” “Well, what’d you
bring for your clothing? I’m not moving here, I’m working. I brought my backpack—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —underwear, shorts, I’m good.” And just, you know, keep my answers short to sweet
to the point. The friends that they have, they have a lot of people, everything from law enforcement to
Feds, on their payroll. They’re corrupt as corrupt gets. I have a very good friend of mine that works for a
Toyota dealership very close to here—
FIEDLER (UCE): When, when you’re saying, “they,” are you talking about—
YOUNGBLOOD: I’m referring specifically to Rachel—
FIEDLER (UCE): — you talking about, these—
YOUNGBLOOD: —her friends—
FIEDLER (UCE): —cartels?
YOUNGBLOOD: —I’m talking—Los Zetas, here.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: Think of it this way: we’re going to divide the United States in three quarters. Gulf
Cartel.
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: Los Zetas, fractions off into seven scumbags. They can’t get their act together, okay,
no leadership.
FIEDLER (UCE): Ah, okay. Yeah.
YOUNGBLOOD: And then over here, rock solid leadership, Sinaloa. Don’t believe all this crap about El
Chapo being locked up and all his kids, it’s all bullshit.

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FIEDLER (UCE): You’re talking about this?
YOUNGBLOOD: This is the problem, right here.
FIEDLER (UCE): Okay.
YOUNGBLOOD: This is Rachel’s best friends, here’s the issue: Julie does business with Barajones. It’s
in Julie’s best interest now, knowing it’s going to be a problem, I suspect, that Julie knows Rachel’s a
loose end and is trying to distance herself. So the easiest way to do that, follow me through here, is to
bury him, commingle money—
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: —with Rachel. And then all of a sudden, cartel says—it’s like a bad Godfather movie:
“You know what, I think you’re solid, I think you’re good, but why would we take a chance?” And that’s
what I think you have going on here and that’s why it concerned me. His debt goes away, he’s paid in
full—
WAITER: Just checking on us out here, guys, how we holdin’ up?
UM1: Do you have any idea –
FIEDLER (UCE): Haven’t looked yet, sorry –
[unintelligible]
WAITER: No worries.
YOUNGBLOOD: May I have another water, please?
WAITER: Another water.
YOUNGBLOOD: Thank you.
PERARDI: You know what you want, Joe?
FIEDLER (UCE): I don’t know.
PERARDI: What are you getting?
YOUNGBLOOD: I’m a simple man – spaghetti, meat sauce. Good enough.
WAITER: Couple more minutes or are we…?
PERARDI: No, I think we’re good to go.
FIEDLER (UCE): No, I think we’re ready.
YOUNGBLOOD: After you.
FIEDLER (UCE): Just the, uh…
WAITER: Fettucine alfredo?
FIEDLER (UCE): Uh, yeah, [unintelligible].
WAITER: You get a soup or a salad with that as well.


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FIEDLER (UCE): Salad.
WAITER: We have a Caesar, House, or Italian –
FIEDLER (UCE): Ranch
WAITER: Ranch. Okay.
FIEDLER (UCE): Didn’t let you get that far, sorry. I figured you had ranch.
WAITER: I can do that.
PERARDI: Everybody loves ranch. I’m gonna do the shrimp and scampi linguine, I’ll, uh… well—
WAITER: I gotcha. And then you also get a soup or a salad.
PERARDI: Uh, I’ll do a… a salad.
WAITER: Caesar, house, or Italian—
PERARDI: Caesar, please.
WAITER: Caesar guy myself.
YOUNGBLOOD: Spaghetti Bolognese, please. Uh, you don’t have the ability to do fusilli or rigatoni
with that, do you, instead of—
WAITER: I can do Rigatoni.
YOUNGBLOOD: Sounds great, sounds great. I won’t eat the salad, [unintelligible]. I have a lot of work
to do tonight, so—
WAITER: No problem. So that was: fettucine carrabba, half salad with Ranch. The shrimp with scallop
linguini with Caesar salad. And spaghetti Bolognese with Rigatoni.
YOUNGBLOOD: Yes, sir.
WAITER: Comin’ right up guys.
YOUNGBLOOD: Thank you.
FIEDLER (UCE): Can I have another beer [unintelligible].
WAITER: Another beer as well. Thank you, guys.
YOUNGBLOOD: Thank you.
PERARDI: I just gotta get my money back.
YOUNGBLOOD: And I agree, 100%.
PERARDI: I can’t—
YOUNGBLOOD: We zero out the debt and then everybody’s made whole, he makes money, you get
everything—
PERARDI: Nicole—


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YOUNGBLOOD: —returned. This shit’s over. More importantly—forget the money. Money only shows
me who I can trust, doesn’t show me anything about character.
FIEDLER (UCE): How much… How much do you, how much do you owe? Like, how much does he
owe?
YOUNGBLOOD: She—It’s not what he owes, it’s what they owe.
FIEDLER (UCE): They owe. How much do they owe?
YOUNGBLOOD: 6.1 million.
FIEDLER (UCE): How much have they paid so far?
YOUNGBLOOD: Nothing. I have paid and he has paid. Nothing.
FIEDLER (UCE): How much are you, how much are y’all into?
PERARDI: I’m out about 800—
YOUNGBLOOD: I’m in almost 4 million.
PERARDI: I’m at, I’m at almost 800 grand.
FIEDLER (UCE): God damn.
YOUNGBLOOD: My point is this: it doesn’t matter, it’ll be taken care of and it’s resolved.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: The item is a Faberge piece that they used for collateral, belongs to the Bureau of
Collection. It’s a carriage and an egg.
FIEDLER (UCE): So you’re in 4 million to them?
YOUNGBLOOD: I’m in 4,300,000—
FIEDLER (UCE): That you paid?
YOUNGBLOOD: 4,324,000, to be exact, yes.
FIEDLER (UCE): For—On his behalf?
YOUNGBLOOD: Yes. And you can imagine the problem it caused at home.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: My wife was a surgeon that worked with Cedars-Sinai—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: —she has Guillain-Barré syndrome now—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —from the shots. I did not take it—
FIEDLER (UCE): What is it?

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YOUNGBLOOD: Guillain-Barré. GBS. It’s, uh, similar to multiple sclerosis.
FIEDLER (UCE): Oh, from the vaccine?
YOUNGBLOOD: Yes
FIEDLER (UCE): Oh, yeah. I didn’t take that shit.
YOUNGBLOOD: Oh, I assure you I didn’t take it. When you line up for yours, I’ll come get mine.
FIEDLER (UCE): Yeah, yeah. It ain’t happening.
YOUNGBLOOD: It—I agree. I left a nice note on the door, that you would have appreciated: I am a
peaceful man, however, anyone wishing to force this upon me—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —you’ve been forewarned, this is a Castle Doctrine state.
WAITRESS: Here you go, sir. Or is that for you?
YOUNGBLOOD: It doesn’t matter. Can I have one more please?
WAITRESS: Yeah, of course.
YOUNGBLOOD: Here, you can have it. No, no, no, take it, I’ll take it home [unintelligible]. So, it
didn’t sit well with me.
FIEDLER (UCE): Yeah, no, no, I don’t—.
YOUNGBLOOD: The point I’m trying to make is, she loves him, but you know how women are.
There’s two things that they guard with their life, one starts with a ‘P’ and one starts with ‘money.’ And I
just tell him, look, I’m not going back on my word, take whatever you want, leave the keys or take the
keys, my son is not leaving this house, especially after what happened with my oldest. So—
PERARDI: Yeah, you need to let him know what happened to Eventine.
YOUNGBLOOD: I have a real hard on for drug dealers. My son was killed six months ago. That never
leaves this table.
FIEDLER (UCE): Alright
YOUNGBLOOD: He was going to testify against people that were selling fentanyl at college. So if
you’re doubting the level of my commitment—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —don’t. Kota, my son—he was his coach.
FIEDLER (UCE): He was killed because he was going to testify?
YOUNGBLOOD: He was killed because he was going to testify, about 100 miles south of Baja. The
point I’m trying to make is, he was involved with Sigma Nu – it’s a fraternity. To make a long story short,
three people lawyered up, he disappeared, Feds went to him. Whether my son was going to be able to help
‘em or not, I do not know. I moved him three times, I changed schools twice, it wasn’t enough. The issue,
because of this, became between my wife and I. I have friends who work for the NSA that could pull

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phone records from anything. This never leaves this table: I broke the law. I made a federal offense. The
text said, “Do not let you father know about this. Your father’s friends are very loyal to him and he will
respond in kind.”
WAITER: Anything else? The Caesar salad?
YOUNGBLOOD: These gentlemen.
YOUNGBLOOD: Thank you
PERARDI: You get ranch on yours?
FIEDLER (UCE): Yeah, I had ranch.
WAITER: Right here
PERARDI: Thank you.
WAITER: [unintelligible] something for you, sir?
YOUNGBLOOD: No, sir, I’m plain Jane.
FIEDLER (UCE): You got, uh, any salt and pepper?
WAITER: Not on me, but I’ll find you some.
FIEDLER (UCE): Salt and pepper, alright, thanks buddy.
YOUNGBLOOD: To make a long story short, her text said, “Your father will go after these people and
even if he told his friends to stand down, they won’t. You’ll have a problem. Cash out and be done with
your roommates and move.” That was three days before they found my son. It didn’t sit well with me. I
don’t smoke, I don’t drink, I have nothing against anyone that does either one, it’s not my thing. And the
reason is very simple: um, I get called at strange hours, I get asked to do things, I have to be sharp. I don’t
have the skill, I don’t have the size that you do, I don’t have the strength. I have this. And it’s my job to
try to keep up with—people say, people always say, “You were an operator, you’re a badass.” No.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I was a brain. I was an 18 Alpha.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: So—And I, and I started 11 Bravo. Ground pounder. Had to qualify 35 different
ways—thank you—to, to, to go up the flagpole. So, I earned it the hard way, no one handed it to me. And
I didn’t have my degree at that time, so, I got all the way to E-7 before I got to start second Lieu, Lieu,
and then left as a Captain when I finally quit. One more day, I would have been an O-4, but there was no
reason to stay anymore. The opportunity was there. What I realized was, some of the stuff that these
Christians In Actions were involved with, I wanted nothing to do with it.
FIEDLER (UCE): The Christians in Actions?
YOUNGBLOOD: Yeah, Central Intelligence Agency.
FIEDLER (UCE): Oh, yeah, yeah.
YOUNGBLOOD: I like to refer to them as the Christians in Action.

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FIEDLER (UCE): Okay, alright, I got you.
YOUNGBLOOD: So, I thought about working for Erik, I thought about working for Dalton, at Academi,
at obviously Blackwater, at the time. I don’t do that kind of work. And I don’t want to be involved in that
kind of work. I want to be kept to myself, I want to play with my dog, play with my fish, spend time with
my son. It put perspective on family, to say the least. I met his wife a couple times, I had nothing positive
or negative, I didn’t have a read on her. What I am concerned with is her circle. What I am concerned
with is her lack of remorse. And what I am concerned with is her ability to lie. She’s very, very good at it.
My lawyer once said, some people are better at lying than you are at telling the truth. That doesn’t mean
you’re a liar, it just means they’re really damn good at it.
FIEDLER (UCE): Yep, yep.
YOUNGBLOOD: And women make it very hard to read their intentions. And that’s what scares me
about this girl.
WAITER: A number two, sir.
YOUNGBLOOD: Thank you so much.
WAITER: No problem.
YOUNGBLOOD: We appreciate the service.
FIEDLER (UCE): Aren’t they all like that, though, at some point?
YOUNGBLOOD: I know one thing though, I spoke a great deal to a friend of mine who’s a principal for
another dealership, okay? Toyota. I have two of ‘em—one in Inglewood, Colorado, black gentleman
whose brother I served with.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: No reason to lie to me—sits on the Toyota Ethics Board. If you ask me a question,
how does [unintelligible]. You can kiss Julie’s business franchises goodbye overseas, I promise you. The
other one, she’s a big shot that came from the Cavender Group. She worked with Julie. Girl had 23 years
with the same company and is ten times sharper. How come she didn’t get the opportunity to become the
first Latino to own a dealership?
FIEDLER (UCE): Yeah.
YOUNGBLOOD: That doesn’t make sense to me. You take a girl that was with you for 7 years, over the
one that’s got 23? Much more history.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —unless you have something that the other one can’t give you. And that’s obviously
what this was. So, he’s—my concern is real simple. Mazzy, Tres, and Arys. That’s it.
FIEDLER (UCE): Yeah, yeah.
YOUNGBLOOD: He’s fourth. My son is fifth. You and I are a distant sixth and seventh, we’re grown-
ass men that can take care of ourselves. I don’t look for trouble. Trouble finds you, comes in your house
at three o’clock in the morning, I’m sure you’re capable. So am I. But I don’t want to go down that road.
Right now, it’s just a matter of money, returning property, and handing over paperwork that puts an end

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to these people. I’ve spoken very candidly about this because of what he speaks about you. Normally I
would not, and I certainly would not do it over a telephone. But, I wanted you to understand what it is. He
trusts you, I trust you. I’m not looking to cause any inconvenience, I’m looking to put this to bed for him.
FIEDLER (UCE): Yeah, um—
YOUNGBLOOD: The, the, the Gehrig bat is across the street, waiting for my phone call. To be dropped
off to you, and that’s yours to hold. But when I tell you I’ll be somewhere—if I told you I was going to be
in Tokyo at 23 hundred tomorrow—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —I’ll be there at 23 hundred tomorrow. Actually, I’d be 30 minutes early, ‘cause, as
you’re well aware, in the service, if you’re 15 minutes early, you’re already late.
FIEDLER (UCE): Yeah, that’s true.
YOUNGBLOOD: I do live by that. Old habits die hard. Usually use a straw.
FIEDLER (UCE): Yeah.
PERARDI: I just, I’m worried about my kids’ safety.
YOUNGBLOOD: Working on it. I have friends of mine already watching—
FIEDLER (UCE): I didn’t know that about your son.
YOUNGBLOOD: I don’t talk about it very much, to be quite oft—to be quite honest.
FIEDLER (UCE): Did you know about it?
PERARDI: Yeah, I mean, he called me right away when his son was killed.
YOUNGBLOOD: So—
PERARDI: And then his wife—
YOUNGBLOOD: —we’re speaking, we’re speaking –
PERARDI: —talked to his wife, too.
YOUNGBLOOD: Well, here’s the best part about this. Ask—when my wife saw you the first time after
what happened to Evantine, what happened at the front door? Tell him.
PERARDI: She put a— She put a gun in my face.
YOUNGBLOOD: My Chinese doctor wife, who’s this tall, went to the door with a piece.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: So, things at home—she’s—she doesn’t leave any more. She stays at the house, she
drinks too much, she medicates herself, and she’s depressed. And I understand. But being depressed,
being negative, never solved anything. Doesn’t help a situation. All it’s gonna do is make you worse, and
I’m sure you’d agree with that. It’s not gonna—it’s not a panacea cure.
PERARDI: Poor Kota’s—


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FIEDLER (UCE): She’s not doctoring no more? She ain’t working?
YOUNGBLOOD: No. She’s done. Doesn’t want to help people. Doesn’t want to do anything.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: Even if the GBS got better, she has no desire to help people. She’s not a big fan of
politics. So, she, uh, doesn’t like Obamacare because it changed the pay structure and then when she got
done with this and she got sick, she just said, “I’m not renewing my license.” She’s not even licensed.
She’s an MT until the day she dies, I mean—
FIEDLER (UCE): Why’d she get the—why’d she get the vaccine?
YOUNGBLOOD: I must have had this fight 50 times. Ironically, my oldest, whose thought processes
were a little off at the end, and her, took it. Baby Kota and myself did not. But this was a fight for 20
years in the brewing. I mean, I didn’t take the anthraxes, I paid the nurse to flush ‘em. And then my wife,
you know, “Do you want a flu shot, do you want a tetanus?” No. “You got bit by a snake, do you want—"
No. If your time’s up, your time’s up, sandbox taught me that. You’re not gonna out-run it. Don’t go
playing in traffic with a blindfold, but don’t think you’re going to coddle yourself and bubble-wrap
yourself and get away with it. Am I right or wrong?
YOUNGBLOOD: But, yes, does she love Eric? Yes. Is she pissed at me for going—does she know how
deep I went? No, she does not. I liquidated a tremendous amount of my grandfather’s estate to me. I’d do
it again, it’s kids. I can get more money, I can make money, but I can’t replace kids. I can’t replace my
son, he’s gone. Baby Kota’s not. I already—
FIEDLER (UCE): What was your son’s name?
YOUNGBLOOD: His name is Even.
FIEDLER (UCE): Even? How old was he?
YOUNGBLOOD: He was 20. Terrifying, isn’t it?
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I’d do anything for you, you know that.
PERARDI: I know, but, this is—beyond—now I’m getting mentioned with drug dealers and fuckin’—
YOUNGBLOOD: Well, you can let it go, it’s like Patton once said, you’re in hell, don’t stop. You let
this continue, and don’t do anything and take action—
FIEDLER (UCE): All this has to do with the car—with the dealership?
PERARDI: My ex-wife and her—I don’t—
YOUNGBLOOD: It’s her family causing the problems. The Herreras and Rachel. And you’re fa—ex-
father-in-law’s a scumbag too but that’s a whole ‘nother story. He’s, he’s incidental, he’s nothing.
They’re the problem.
PERARDI: Well, it started when he found out that she was trying to have me killed and uh—
YOUNGBLOOD: She put a, she put a contract out because of the $6.5 million that his life insurance
is—

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FIEDLER (UCE): Yeah, he told me about that.
YOUNGBLOOD: Okay, and the issue was, they decided it might be a good idea to mess with Arys and
get a couple people to come across. He was picked up on a wire on someone that was being monitored by
something else. The name under Lexis-Nexis got caught and connected because of my son, playing at
Crossover and playing for the team, that he had coached before. One of his best friends, Adam Powell, I
have no idea if you know, I assume you do, Adam Powell, a coach—
FIEDLER (UCE): Oh, yeah.
YOUNGBLOOD: Okay, my point is, my son was playing for his team at the time—
FIEDLER (UCE): Uh-huh.
YOUNGBLOOD: The minute we found out about it, I have some friends down there that are hard asses.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: They resolved the issue, seized the property and went after the rental car and went—
made sure that there was no coming across the border. Brownsville is a nasty area, I do not know what
you know about it. 90% of what come—
FIEDLER (UCE): [Unintelligible] the border.
YOUNGBLOOD: —90% of what comes through Texas comes through that Brownsville point, either on
water or by land. It is the most corrupt CBP point in the States. Literally. All states, not just this one. It
makes TJ looks like nothing.
FIEDLER (UCE): Stay away from the border, man, I don’t go down there.
YOUNGBLOOD: I don’t think you’re missing anything—
FIEDLER (UCE): [unintelligible]
YOUNGBLOOD: I don’t wanna go down there. I have no business either, it’s not my forte. But I agree
with everything you said about—well, almost 99% of what you said. But my number one is the kids,
number two is him.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: Number three is my son, number four would be you and I. I don’t care about being
inconvenienced. I’ll take care of my business, give me that opportunity. And then take my—hold it—
we’ll conclude our business in a week and that’ll be the end of it. Look, I—you thought I was not
committed to burying Rachel before this, I certainly am now. I’m not an angel, I’m not a good man.
Good’s a perception.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: You’re good looking, you’re good in bed. Honest? I saw them inside already, Joe,
they’re, they’re nobodies. Honest. You either are or you aren’t. There’s no gray area, there’s no
perception.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: You are or you aren’t. That’s one thing I take great pride in.

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PERARDI: Where… Where’s James?
YOUNGBLOOD: Holding the bat.
PERARDI: Yeah.
YOUNGBLOOD: A mile from here.
PERARDI: But he’s still got fucking paintings and everything you’re talking about too. And he’s not
stepping up to help us?
YOUNGBLOOD: By the time he would sell it, he’d draw more attention in putting up a couple million
dollar painting than he would for seventy—it doesn’t make sense.
PERARDI: For sev—
YOUNGBLOOD: Use something asymmetrical that’s off the board that nobody knows about, hold it and
be done. Flag’s at your house.
PERARDI: Right.
YOUNGBLOOD: I trust you. But the dumbest thing in the world is for you to steal from me.
PERARDI: Right.
WAITRESS: Romano cheese on top of your food?
UM1: Yeah, sure, I’d take a little on mine.
WAITRESS: Which one did you have, sir?
FIEDLER (UCE): Oh, I’m sorry, the chicken.
WAITRESS: This one? Just let me know when you want me to stop.
FIEDLER (UCE): Might be a minute. ‘Til your arm starts to hurt.
WAITRESS: [unintelligible]
[laughter]
FIELDER (UCE): Nah, that’s good, that’s good.
PERARDI: You like cheese.
FIELDER (UCE): Alright, thank you.
WAITRESS: And anything for you gentlemen?
YOUNGBLOOD: That’s his, serve him first, please. Yes.
PERARDI: Thank you. Thank you.
WAITRESS: Would you like any Romano cheese?
FIEDLER (UCE): Uh, no, I’m good, thank you.
YOUNGBLOOD: May I have a little, please?

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WAITRESS: [unintelligible] stop.
YOUNGBLOOD: That’s plenty. That’s more than plenty.
WAITRESS: [unintelligible]
YOUNGBLOOD: If you don’t mind: Bless us, oh Lord, for these thy gifts [unintelligible] bounty
[unintelligible]. In nomine Patre, et Filii, et Spiritus Sancti, amen. Thank you.
FIEDLER (UCE): Let’s eat.
YOUNGBLOOD: How’s Mazzy, good?
PERARDI: I mean, she’s 4 and going back and forth between Spicewood and Steiner.
YOUNGBLOOD: I’m aware. It’s temporary, one step at a time.
PERARDI: It feels permanent right now, unfortunately. I got—Now I got investors and people calling
me about these fucking posts.
YOUNGBLOOD: It just needs to be put to bed. It’s that simple.
PERARDI: How do you stop the posts?
YOUNGBLOOD: I have people working on tracking back down to where everything’s coming from and
what sites they’re using to post. They’re using a server out of Juarez, they’re using a server out of San
Mateo, and they’re using one that’s out of Arlington, Virginia. It’s hard to nail all of them, they’re using
Express VPN. Express VPN is a three-letter agency one. So I understand he’s got crooked scumbags in
his pocket, I, I got all that. It can still be cut off and it can still be stopped and that’s what I’m doing. I
assure you Demarcus Belle—at NSA, Demarcus Belle—is much smarter than whoever they’re using. It
will be stopped and it will be ceased.
PERARDI: I just don’t understand the motivation behind it.
YOUNGBLOOD: The motivation’s very simple: discredit you, cover her ass.
PERARDI: But she’s in the posts!
YOUNGBLOOD: I understand that. But if I wanted to make myself look like a victim, I could make the
same argument about you, posting your stuff in there, saying, “Well I’m tryna”—that’s what their
argument would be. You put an end to that very simply by saying, here’s the tape, here’s the transcripts,
here’s their banking records, and here’s proof of every single thing against them with OFAC. Let OFAC
and the Treasury nail them. There’ll be no dispute at that point who’s telling the truth, who’s right and
wrong.
PERARDI: How do we get them to move on it?
YOUNGBLOOD: We complete our business. Let me do what I’m good at. I’m not incompetent. And it
will get taken care of. I don’t like these people, either, and my loyalty’s to you and my loyalty’s to him. It
is certainly not to Rachel and it is certainly not to Julie. Are you Texan native or…?
FIEDLER (UCE): Yeah, my family is—
YOUNGBLOOD: Pretty much?


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FIEDLER (UCE): Yeah, pretty much.
WAITER: Everything turn out ok for us out here, guys?
YOUNGBLOOD: Everything’s out— everything’s outstanding.
FIEDLER (UCE): Yeah.
WAITER: Alright, just let me know if y’all need anything.
YOUNGBLOOD: Thanks.
WAITER: More lemonade?
PERARDI: Yeah, I’ll do another one.
WAITER: No problem, guys.
YOUNGBLOOD: Thank you.
FIEDLER (UCE): You?
YOUNGBLOOD: Born and raised, like I said, Okinawa. Then Moscow. Then literally Hong Kong,
Johannesburg, Sudan, Morocco, Detroit, Michigan. New York City, Ohio, Raleigh. Then the old man
settled in Detroit, Michigan FBI office. Parents passed away when I was a kid, car accident.
FIEDLER (UCE): They worked for the FBI?
YOUNGBLOOD: He did.
FIEDLER (UCE): He retire from there?
YOUNGBLOOD: No, he was dead at 38 years old. Car accident.
FIEDLER (UCE): 30?
YOUNGBLOOD: 38.
FIEDLER (UCE): While on duty, like active duty?
YOUNGBLOOD: Literally—no, literally, was out in the Marine Corps, I think his DOS was ‘84. Did
four years with the Bureau. My mom and dad were killed in a car accident, so I turned 17, nobody to take
me. Actually went to the Marines, went and took the ASVAB, everything else—
FIEDLER (UCE): Oh, you went to the Marines first?
YOUNGBLOOD: No, I tried. Wouldn’t take me, cause I didn’t have a parental permission at 17.
FIEDLER (UCE): Oh, okay.
YOUNGBLOOD: So, even though I was a, emancipated, an adult, I had to wait until I turned 18. So—
FIEDLER (UCE): The Army took you.
YOUNGBLOOD: That’s correct. So I went to, did a year at Johns Hopkins, did a year at USC, graduated
Michigan, and then went to Case Western Reserve for my Master’s. So, wasted my time, got a Master’s in
quantum physics, never used it for shit.


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FIEDLER (UCE): No shit, quantum physics.
YOUNGBLOOD: At one time, I wanted to work for NASA, but I assure you that’s not the case
anymore. Another, uh, poorly run government institution.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: It’s interesting, though, when you see what people’s, I don’t know, hot points are. It—
with Julie Herrera—
FIEDLER (UCE): Thanks.
WAITER: No problem.
YOUNGBLOOD: You know the old inten—the old expression, mea culpa. You know, you hear this
from lawyer’s all the time, mea culpa, and they tap their head. What was your intent? The whole intent
was to get his money from Day 1. She’s been cheating since Day 1. I don’t want to insult my friend.
These are facts. It needs to be put to bed.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: It’s just that simple.
YOUNGBLOOD: On a totally unrelated subject, what did you think of Boston bowing out last night?
PERARDI: Unreal.
YOUNGBLOOD: Best record ever in 100 years and—
PERARDI: Yeah.
YOUNGBLOOD: —you draw the first round to an eight seed, with the lead with 50 seconds left?
PERARDI: I know.
YOUNGBLOOD: And then you blow it in overtime, at home?
PERARDI: I know. It was great. Well, how about the Kraken beatin’—
YOUNGBLOOD: I didn’t see that—
PERARDI: —the Avalanche—
YOUNGBLOOD: —did they knock Colorado out?
PERARDI: Yes!
YOUNGBLOOD: Oh, wow I didn’t see that, I turned it off—
PERARDI: Second—
YOUNGBLOOD: —it was 2-nothin’.
PERARDI: Second year as a team, and they knocked out the Stanley Cup champions in the first round.
YOUNGBLOOD: I like it.
PERARDI: It’s good for the sport!

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YOUNGBLOOD: Anybody could beat anybody on a given day.
PERARDI: Well, I needed—I wanted Avalanche to get out of the way so that Dallas could have—Dallas
or Edmonton could have a run. Would be great to see one of those teams out of the West and then—
YOUNGBLOOD: Dallas have a chance?
PERARDI: Y—oh, yeah. Yeah, they—
YOUNGBLOOD: They’re strong? Their goalie’s strong, right?
PERARDI: Really good. Kid’s Oettinger out of Minnesota. Yeah.
YOUNGBLOOD: Can they take Edmonton out?
PERARDI: I mean, Vegas Knights may take Edmonton out.
YOUNGBLOOD: That’s right, that’s their next round.
PERARDI: Yeah. So, Stars are playing, um, Kraken.
YOUNGBLOOD: Kraken are one and done, I think. They got their—
PERARDI: Yeah, I mean, Stars are—well, Pavelski got hurt in, in the first game so they didn’t even have
Pavelski for the whole series and they beat everybody, so—
YOUNGBLOOD: Is he the one that got hit in the boards, took the head shot or whatever?
PERARDI: Yeah, y-yeah, and they didn’t call it.
YOUNGBLOOD: Wow.
PERARDI: Yeah. What is Kota gonna do next year?
YOUNGBLOOD: He’s been difficult lately since his brother. I’m- I’ve been very open about this.
PERARDI: Yeah.
YOUNGBLOOD: He’s number one in his class, or number two depending what day it is. He’s got the
brains, but I doubt—I don’t think he’s gonna pick up a hockey stick again.
PERARDI: You think he’s done?
YOUNGBLOOD: I think he was turned off by this here. Yeah.
PERARDI: That sucks.
YOUNGBLOOD: I would be very surprised if he played again.
PERARDI: [unintelligible]
YOUNGBLOOD: Was the food alright, Joe? Good?
FIEDLER (UCE): Yeah, yeah, yeah—
PERARDI: If we don’t get this money back, Arys will be puttin’ down his hockey stick, too. So, I can’t,
I mean—


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YOUNGBLOOD: You do realize, th-the effect that this has had on my family, too? I’m holding your
hand one way or another. We sink or swim together, and I’m putting up everything I have. Multiples of
what I’m asking for, so I can solve this problem (0:51:00) and put it to bed for everyone. I don’t want it to
continue and get out of control. Ugly doesn’t profit anyone, blood is an expense—a business expense that,
just, there’s no upside to it. I don’t want it to get to this point. Right now, it’s just a money problem, and
an asshole problem. Reputation will be restored immediately the minute this crazy broad is gone.
PERARDI: But I can’t have the cartel comin’ after my—
YOUNGBLOOD: I understand that.
PERARDI: —fuckin’ kids. I can’t have that.
YOUNGBLOOD: It needs to be cut off at the knees, right here, right now. I understand that.
FIEDLER (UCE): This—this will stop that, right?
YOUNGBLOOD: It’ll be over, now.
FIEDLER (UCE): I mean—
PERARDI: I hope so, yeah. I mean, that’s, that’s the point. Yeah.
FIEDLER (UCE): We do this, I help you out—
YOUNGBLOOD: You have my word. It’s over. I promise you.
FIEDLER (UCE): It’s done. It’s protection—
YOUNGBLOOD: It’s done.
FIEDLER (UCE): —from the cartels—
YOUNGBLOOD: It’s done.
FIEDLER (UCE): Whatever—
YOUNGBLOOD: And I—
FIEDLER (UCE): —whatever that was–
YOUNGBLOOD: — would prefer no matter what your decision is, I do not want Gehrig bat at my
house. So, either—
FIEDLER (UCE): I don’t think I—
YOUNGBLOOD: —he takes it, or you take—
FIEDLER (UCE): You know—
PERARDI: I mean, I can put it with the flag.
FIEDLER (UCE): —I got the flag, I don’t even need—I don’t even need that thing, man. I don’t need it.
I’m gonna do this for you.
YOUNGBLOOD: No one’s moving out to take from anybody.


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FIEDLER (UCE): You got—you got the flag at your house, right?
PERARDI: Yeah. You saw—yeah.
FIEDLER (UCE): I’m fine with that.
PERARDI: Okay.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: Do not tell James that. You take the bat from him, ‘cause people do foolish things
over a million dollar bat. I’d prefer it stays with you.
PERARDI: You want me to put it with the flag?
YOUNGBLOOD: Yes. I trust you.
PERARDI: Behind the flag?
YOUNGBLOOD: I trust you immensely.
PERARDI: ‘Kay.
YOUNGBLOOD: Besides, he doesn’t strike me as he’s gonna lay down with the program. Someone
tries to rob your house, you call him.
PERARDI: Yeah.
FIEDLER (UCE): Oh no, he ain’t comin’ to my house. Not comin’ to your house either. Give me a call.
PERARDI: No. Our, our neighborhood’s heavily armed.
YOUNGBLOOD: Nothing wrong with that. You say that like it’s a bad thing. [laughs]
PERARDI: No, it’s good, but it just—I got little kids.
FIEDLER (UCE): Isn’t all of Texas heavily armed?
PERARDI: What?
YOUNGBLOOD: Unfortunately not Austin.
FIEDLER (UCE): I said isn’t all of Texas heavily—yeah, except for Austin.
YOUNGBLOOD: Lot of liberals out here, unfortunately.
FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: Cedar Park, especially. Oh my god.
FIEDLER (UCE): Oh, yeah.
YOUNGBLOOD: I did not realize how very heavily liberal that city is.
FIEDLER (UCE): It’s all the Californians moving out here.
YOUNGBLOOD: Yeah, very true. Very true. Tres good?



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PERARDI: Yeah, he’s got a-you know that they’re doing something interesting this year with the
tryouts, which is kinda cool. So Adam made the decision where—they’re basically gonna pick 34 to 38
kids that could play travel hockey. And then they’re gonna have a training camp, at the end of July and
August. And then pick whether it’s double A or A. So, so, you know the kids that don’t have a great
tryout—
YOUNGBLOOD: Right.
PERARDI: —but they were still good enough to be a travel player—
YOUNGBLOOD: Right.
PERARDI: —they may come back in training camp for two weeks and have worked out all summer and
proved themselves. So it’s—‘cause I always hated that. Like, you’re, you’re, you’re basically picking a
team—
YOUNGBLOOD: Right.
PERARDI: —off a two-hour practice and, some kids just don’t fuckin’ try out well, some people don’t
job interview well, you know? So this way—
YOUNGBLOOD: [unintelligible] test well—
PERARDI: —they get to come back, almost like the pros and, and fight for a spot on the team.
YOUNGBLOOD: See, Adam knows what he’s doing. He’s no fool.
PERARDI: Yeah it’s gonna be fun, so I think that’s good for Trace, ‘cause he missed, you know, three
months, with a broken hand. He couldn’t play. So-and this is his first year at bantam so he’s gonna have
to hit this year. So, havin’ the chance to get used to that before he’s got training camp.
YOUNGBLOOD: He’s got pretty good pedigree with his old man, I’m sure he’ll be fine.
PERARDI: Yeah, he can hit. I’m gonna teach him how to hit. I mean, luckily, he’s seen the ice rink in
the house. That’s how I taught Arys how to hit, was just. I took him up there, I had a heavy bag that I
used to hang in the middle. And Arys would skate towards it, and I would hit him with the heavy bag.
Like, almost like you guys do in football, right?
FIEDLER (UCE): Yeah, football training, yeah.
PERARDI: Yeah, it’s the same—I was kind of using the dummy concept with the football guys we were
getting. They would always—the guys were getting hit, you know with the dummy bag or that.
YOUNGBLOOD: Did you play ball?
FIEDLER (UCE): Uh, just high school. But—
PERARDI: But he’s a big football fan.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I wrestled.
FIEDLER (UCE): Did you?
YOUNGBLOOD: Yeah.

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FIEDLER (UCE): I never got into wrestling.
YOUNGBLOOD: Some of the habits I got there, I still have today, I, I, I’m grateful for it. Grateful for
the ability to defend myself. It helped me several times, unfortunately.
FIEDLER (UCE): Yeah.
PERARDI: Well, wrestlers are the worst, ‘cause you get them on the ground and you’re fucked. You
better knock them out before you get—
YOUNGBLOOD: I always laughed at these jiu-jitsu guys, ‘cause everyone always thought that they
were the baddest mothers out there. I don’t know about that. Awful hard to armbar a wrestler.
PERARDI: Those MMA guys are brutal.
YOUNGBLOOD: Yeah, they are. I worked out with Gracie several times at Gracie Barra. He’s great. I, I
don’t think he’s—he’s not unbeatable. No one is.
PERARDI: Well, they had a big thing in California where he was putting up all those gyms when I was
out there.
YOUNGBLOOD: Yup. Gracie Barra. Torrance was the first one.
PERARDI: Torrance, yeah.
YOUNGBLOOD: Yup. I went out there when he opened it in ’94.
PERARDI: Uh-huh, yeah.
YOUNGBLOOD: Long time ago. Galaxy far, far away. I was twenty years old. Japan is shootfighting, as
you know. And, the, you know, Ken Shamrock.
FIEDLER (UCE): Shoe?
YOUNGBLOOD: Shootfighting.
FIEDLER (UCE): Shoot.
YOUNGBLOOD: Very similar form of wrestling to jiu-jitsu.
FIEDLER (UCE): I was only there for a year, so I probably didn’t pay close attention to it.
YOUNGBLOOD: Ken Shamrock, you’ve heard the name before of course, right? Frank Shamrock.
Pretty famous. They had made that famous, and they had the same argument that it was much more
devastating than jiu-jitsu. Simply because, jiu-jitsu, if you’re not sticking your arm out like this, or giving
someone your leg, it’s not gonna work on someone that’s got a good ground game.
FIEDLER (UCE): Yeah.
PERARDI: This made my fuckin’ stomach hurt.
YOUNGBLOOD: You didn’t like it?
PERARDI: No, it was good, I just—I got—I don’t know if it had cream sauce on it or something, but…
Just gave me a frikkin’—might have to hit the head one more time.
YOUNGBLOOD: I’m sorry. The food here is usually pretty good.

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PERARDI: Not at all, it’s good food, I just—
YOUNGBLOOD: Yours is okay, right?
FIEDLER (UCE): Yeah.
PERARDI: I don’t always do well with the cream sauce sometimes. I didn’t realize that’s what it was. So
how is Gloria he—holding up?
YOUNGBLOOD: She’s a mess.
PERARDI: Those posts and stuff? ‘Cause you said—
YOUNGBLOOD: She’s very concerned about it, Eric. I’d be lying if I said she’s not. She’s very—she’s
asked me a thousand times, “Are you prepared to put my family at risk over this?” “Yes. I believe him.”
So I’ve told—I made it real clear where I stand on this, ‘cause you’re seeing people dissipate away with
the exception of this table, am I right? I mean, they—they were trying to cut you off at the knees. That’s
not gonna happen here, and I doubt very much that’s gonna happen from him. My point is—yes, she’s
asking me. Does she believe you? Yes. Is she scared about the posts. Yeah, very much so. But I told her, I
said you know you can say anything. I can sit here and say I was the second shooter on the grassy knoll.
That doesn’t make it so. So I think that’s the hardest thing. You know, one thing I learned a long time
ago. I’ll never forget two things in 2001 after 9/11, and what I think about 9/11’s irrelevant. But, two
things. I was at 14,653 feet in Tora Bora. Hunting Bin Laden. And I went to Dalton Fury, his name was
Scott Greer at the time. And I said, “With all due respect, Major. We’re looking for a six-foot Arab, sixty
years old, at 14,000 feet and I can barely breathe.” “Don’t fuck up the program, Kota. Every hero needs a
villain. Without a villain, there can be no hero.” So that was number one. Second one he told me was
terrifying. He goes, “It’s impossible to disprove a negative, son. You do your job, and nothing happens,
you don’t get any accolades. You did your fuckin’ job. You don’t do your job and everyone dies, it’s
coming back to you.” I want you to think about the significance of that. Something happens to my son, I
fail. Nothing happens and I keep him safe, we’re gonna use the example of keeping everyone here—him
safe, him s—it doesn’t mean—I’m making a point. Your kid’s safe, my kid’s safe. Nothing happens, then
there’s someone that goes, “Oh well it was never really a serious threat.” Well, I disagree. When you’re
sitting there, and you’re telling people, “I can get you 27,000 in cash, and I can get you this-this-this and I
can give you the latitude and longitude of where they live, where they stay and where they play,” I’m
gonna take that seriously. When you’re dealing with people that did ten years for manslaughter, and the
other one for a-a-aggravated assault, assault with a deadly weapon, and attempted rape. I don’t know
about you, but those aren’t people I want around my seventeen-year-old much less my twelve and
fourteen-year-old. I take that seriously. I have a knife and I’m reaching for my pocket, or I have a knife
and it’s at my throat. At what point do you react? Ask him. He’s drilling the guy when he reaches for his
back pocket. I guarantee it. This is too late. You’re already history. That’s the only mistake that was made
in this situation. They got the benefit of the doubt for too long. That it wasn’t real. This lady is not
interested in anything long term for you. She’s interested in using you as a pawn to basically take
everything that you spent the last twenty years building. No more, no less. The kids? She doesn’t care.
Don’t confuse this, “Oh I want my daugh—“, it’s all bullshit. It’s a piece on a chess board that she’s using
as leverage. And it’s disgusting. You know, I don’t understand how these people—and if you believe—
I’m religious to the degree that I believe in God. I say my prayers. I say grace. But when I see stuff like
this—I used to get pissed off when we were deployed, people would sit there and pray. I said there’s
somebody sitting in a cave, praying to his god to kill us. You know what it’s gonna come down to?
Who’s more skilled—


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FIEDLER (UCE): Mm-hmm.
YOUNGBLOOD: —and who’s better trained. Am I right or wrong?
FIEDLER (UCE): [unintelligible]
YOUNGBLOOD: You bleed in training—you, you know, you sweat in training so you don’t bleed in
battle. It's very true. This is an example. Alright, yeah, they had the advantage for a period of time. Yeah,
they buried us financially. Yeah, they gotta—with all due respect, it was more of a headache for me, than
anything. Because I had to deal with the blowback from my chain of command. And I assure you, they’re
looking at me like, “You’re gonna pass a polygraph, right?” “Yes.” “I’m not gonna give it to you, Kota,
but you’d pass it right? This guy’s telling the truth?” “I’ve known him for seven years. Yes, he’s telling
the truth. He’s my son’s—he’s like a second father when I’m not home. My kid, both of them, were with
him for seven years. Yes, this is bullshit.” “Alright, that’s good enough for me.” And that was the end of
the conversation, never asked me again. So yeah, I totally get your frustration, and I get when you come
off the, the anger. I get it. But you have a chance to put it to bed with people that actually give a shit about
you. That have no horse in the race, that are gonna benefit. One way or another, he goes to work
tomorrow, I go to work tomorrow. But man, I’m supposed to sit here and go, “You know what, friendship
was great when it was convenient, but now it’s hard. Fuck it.” This is a huge point in my house. And I’m
not trying to bore you, and I hope I’m not. But I guarantee you he’s gonna say the same thing and if he
doesn’t, we shouldn’t do business. Loyalty’s unconditional. I don’t care if someone fucks me seven ways
to Sunday. That doesn’t give me the right to fuck them. That makes me worse than them, because I knew
what I was doing. They might have just been stupid, incompetent, lazy, or just a dumbass. Don’t confuse
that with malicious. But, when that person admits they’re wrong, and they come back and say, “Hey I’m
sorry,” that’s it man, I’m all in.” And this is where Gloria and I disagree. “No. You’re wrong. Your
military friends, if they say, ‘Jump.’ You say, ‘How high?’ And you get fucked.” Okay. “They don’t have
the same moral compass you do.” You might be right. A hundred of them out of a hundred and ten. But
what about the ten that do? If I can save one of them—so I go in front of God someday, and just say,
“Hey yeah you know what? Life got hard, and uh, I just said fuck it. I left my friend behind enemy lines.”
It’s just not gonna happen. If you don’t draw the line here—it’s like the vaccine. If you don’t draw it
there, I’m looking at my son who’s messed up, my wife who’s messed up. And I—the DoD says, “Yeah,
you don’t sign this, thirty years, you can kiss your pension goodbye. You can fuck off.” “Wow. You do
know I’m decorated, right?” “Yeah.” “I guess I’m fucking done. I’ll start my own thing.” And that’s what
I did. I put my money where my mouth was. Most people, “Ah man, you’re stupid.” “Why is that?” “Well
the odds are it won’t kill you.” The odds are. Okay. The odds are I can walk across that street right now
and traffic will stop. If it doesn’t? I’ve got a problem. And the reason I’m harping on this so much is
loyalty is unconditional, or you’re shit! Because th—that’s basically saying, someone screws me for a
thousand, oh, it doesn’t matter. They screw me for ten thousand, oh, it doesn’t matter. Eleven thousand,
well now it’s a problem. What was the difference between here and here? Nothing. A d—a decimal point.
It’s the same thing. You’re either in or you’re out. So yeah, could I have said, “You know what Eric? It’s
a fucking pain, I’m done.” Yeah. Leave it in other people’s lap? Yeah. They fuck it up, something
happens to your kid or my kid? How do I look in the mirror? How do I say, yeah man that, that’s on me?
FIEDLER (UCE): Mm-hmm. Yeah.
YOUNGBLOOD: And that’s how I see it. So, none of us want to be here. And so it comes down to,
finishing it and putting it to bed, are we just let—basically, and I hate using this expression and I’m sorry,
we let assholes prison-fuck us. That’s what it comes down to. So if that’s—everyone’s okay with that,
and we still have the same problems with idiots online, and Rachel causing a problem in divorce court,

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and all these people thinking whatever they want to think, which ultimately they’re gonna believe what
they want anyway. Let’s end it here and now and bury ‘em. Forget this get even with them. No, no, no,
no, no. If we’re gonna go through the trouble to start a war that they start we’re gonna finish, let’s not be
even. Let’s fuckin’ put ‘em in the ground. And make sure it’s done the legal way, and let the Feds do
our—their work for us.
PERARDI: What I told you before, I—if she’s guilty, then that’s—this was never—this was always
about protecting my children.
YOUNGBLOOD: I understand that.
PERARDI: And I didn’t—like, you said she’s guilty and—
YOUNGBLOOD: Eric.
PERARDI: —all these things—
YOUNGBLOOD: Eric.
PERARDI: But that’s not what it was about for me.
YOUNGBLOOD: Eric. It’s not about the money—
PERARDI: It was about protecting my kids.
YOUNGBLOOD: —and I agree with you, but let me say something. I’ve known Mert Rodriguez for
twelve years. That lady was the best employee Cavender had. That lady is the sharpest person I know.
Happens to be Latino. When it comes to business auto world. You’re telling me, that Cavender passed
over Mert for Julie? So my question’s very simple: What does Julie do, that Mert couldn’t do three times
better? The answer is nothing, except provide financing. At a certain point, eliminate the impossible and
the improbable becomes the answer. It’s that simple. This is all about financing. I did not realize how big
drugs were. I admit it. I had friends of mine, fifteen years ago, saying, “We’re gonna need your credit,
Lakota, because your credit’s better. Navy Fed will do the VA loan for you with the SBA, and then—”
WAITER: Checking on us out here guys. We still doing okay?
YOUNGBLOOD: It’s outstanding. We’re just talking.
WAITER: Need a box or anything?
YOUNGBLOOD: No thank you, sir.
WAITER: Alright, do you want any desserts or anything?
YOUNGBLOOD: I don’t. These gentlemen might.
FIEDLER (UCE): Sorry, bro.
WAITER: You’re all good.
FIEDLER (UCE): Didn’t mean to do that.
WAITER: It’s all good. I need the cardio, I think. The squats.
YOUNGBLOOD: My point is—


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FIEDLER (UCE): [laughs] I caught that.
YOUNGBLOOD: I don’t care how much it is. Just stick it. Thank you. My point is, I didn’t realize this.
They all wanted to do this cannabis crap, right? And I’ve always said well, you know, this is a slippery
slope. Now, you want to do Shetland ponies, a line of coke, and a midget, knock yourself out. But it’s not
my bag. This was fifteen years ago. I did not realize how dangerous fentanyl was. I have a wife that’s a
street pharmacist. You think Gloria can’t concoct something ten times stronger with Benadryl and all
these other asphetamines that, you know, you take for asthma? Of course she can. She went to school for
it for fourteen years. So my point is, it’s a danger. When you have a chance to cut the head of the snake
off, take it. Don’t pass up on it. It doesn’t make sense to let it go. These people? You asked me a question
and I’ll answer it. They’re dangerous. Are they dangerous, gonna show up at your house and shoot you,
me, and him in the head? No, they’re not. Are they dangerous where eventually, when you least expect it,
they’ll respond? Very much so. Now, you turn it around and you say, “Listen: Here’s everything you’re
owed. Our business is concluded.” I have Akiko take everything Daniel needs to bury Rachel. Your
divorce is handled, Mazzy’s yours, your money’s restored, your debts are paid. You think the people
aren’t gonna know instantly who was telling the truth? When you have to tell them what a great guy you
are, that’s the problem.
FIEDLER (UCE): I mean—I mean, you’re in for four, already.
YOUNGBLOOD: I’m in for four, three, and change.
FIEDLER (UCE): You’re in for eight—
PERARDI: Eight hundred, yeah. John’s in for a hundred.
FIEDLER (UCE): So there’s still, there’s still a million dollars out there unpaid.
YOUNGBLOOD: No.
FIELDER (UCE): Is that right?
YOUNGBLOOD: No, there’s another six-one owed.
FIEDLER (UCE): Another six million dollars?
YOUNGBLOOD: It doesn’t matter. The piece—the, the bounty on the piece is seven point five. It’s
more than enough to pay everyone off. And then the rest of the money is in gold. Do not ever repeat that,
please. Gold bars. But all of us—I don’t think you need to be worried about money, but I’m telling you
right? You’re in. For a percentage—all of us will split it literally down the middle when this is over. But
I’m not one of those guys that—and I am very superstitious—that wants to get ahead of himself.
FIEDLER (UCE): Wait, wait, wait, wait. Say that again now?
YOUNGBLOOD: There’s a considerable amount of gold—
FIEDLER (UCE): Gold. Okay. Okay.
YOUNGBLOOD: —being held, that they fucked people out of, that will be returned to us. On top of
everything else. The number one priority is the Faberge piece, number two is the metal.
FIEDLER (UCE): How much? How much gold. Like, how much—if I buy in, how much—



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YOUNGBLOOD: Enough to cover a couple million dollars. It will be split down the middle with all of
us. What everybody put in is irrelevant. It’s real simple. No one did this for money. So—
FIEDLER (UCE): How many people are—how many people have put in?
YOUNGBLOOD: You’re looking at it. And then just John. And that’s it.
FIEDLER (UCE): Just the three of us? Oh, and your other buddy?
PERARDI: James didn’t put any in?
YOUNGBLOOD: James put my money in.
PERARDI: Oh, your money in.
FIEDLER (UCE): He put your money?
YOUNGBLOOD: Yeah, he was nice enough to be very generous with my wallet.
FIEDLER (UCE): [laughs]
WAITER: Well, y’all have a wonderful day, guys.
YOUNGBLOOD: Thank you.
WAITER: Until next time, gang.
YOUNGBLOOD: A true sportsman, as you can imagine.
PERARDI: Again, never about the money. About keeping my kid safe. That’s all I give a shit about.
FIEDLER (UCE): Yeah, it’s—
YOUNGBLOOD: If you didn’t give a shit about-
FIEDLER (UCE): —I’m not even concerned about that, you know.
YOUNGBLOOD: If you didn’t give a shit about that, we wouldn’t be sitting here, ‘cause I wouldn’t
have helped.
FIEDLER (UCE): Yeah, I mean that’s, that’s the thing man, is—I’m not concerned with, with any of
that, you know, whatever happens with that, but—my concern is about you, the kids.
PERARDI: I know.
FIEDLER (UCE): You know.
YOUNGBLOOD: It’s, uh, to answer your question, seventy kilo bars. Kilo’s thirty-two ounces a bar.
FIEDLER (UCE): Yeah. Wow.
YOUNGBLOOD: That’s two thousand ounces of gold.
FIEDLER (UCE): So, so how much—you, you said on the phone when we talked you had three hundred
and some change?
YOUNGBLOOD: I put three twenty-four in this week.


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FIEDLER (UCE): Three twenty-four. And you—
YOUNGBLOOD: I owed, I owed another ninety-six.
FIEDLER (UCE): Ninety-six?
YOUNGBLOOD: [unintelligible] I have the twenty. I showed it to you.
FIEDLER (UCE): Oh yeah, yeah, okay, okay, okay.
YOUNGBLOOD: Yeah.
FIEDLER (UCE): So you need seventy six.
YOUNGBLOOD: Seventy six and then we’re done.
FIEDLER (UCE): And that’ll—that’s the end of it?
YOUNGBLOOD: We’re done.
FIEDLER (UCE): We’re done? I’m, I’m done?
PERARDI: Yeah, I mean, I’m—I don’t have any more money to put in! That’s the problem—
YOUNGBLOOD: We’re done.
PERARDI: —with why I need your help. Because if—I have nothing left, and I—
YOUNGBLOOD: My only alternative—
PERARDI: —if he can’t give me back my eight hundred, I’m fucked.
YOUNGBLOOD: My only alternative was to go to New York. But other people would have known our
business and I didn’t think it was—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —a good idea because they—despite what you see in movies and that, they have not
condoned this shit, the drugs and that. They have nothing to do with it, the hardcores in Brooklyn?
FIEDLER (UCE): Uh huh.
YOUNGBLOOD: Which is where my grandfather’s business was. Bronx and Brooklyn. They would
look at me like, “Wait a minute. You want us to get involved and this is what your friend’s being accused
of?” It would not sit well.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I’ve already had—put feelers out—
PERARDI: That’s what makes it even more complicated.
FIEDLER (UCE): [laughs]
YOUNGBLOOD: Well, they look at it like—
FIEDLER (UCE): Wow.


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YOUNGBLOOD: Your friend is involved in this kind of shit?
FIEDLER (UCE): Yeah.
YOUNGBLOOD: We know he’s not.
PERARDI: No, I am not involved in—
YOUNGBLOOD: We know that.
FIEDLER (UCE): Yeah. Naw, he ain’t—
PERARDI: I go from a fucking—I mean, he knows my business. I go from a legitimate businessperson
to being slandered all over the internet.
YOUNGBLOOD: So you put an end to it, and it’s a great story, Eric. And people turn around and you
know what the apology line? It’s gonna start out there and go around the block to the left. And you know
what you tell ‘em? You don’t hold a grudge. You just look ‘em square in the eye and say, “Hey I
understand how you felt. It’s a dead issue.” And you let it go. You be the bigger person. You don’t sit
here and ride their ass into the ground because they slammed you. You let it go. You remember it, but you
let it go. It’s not gonna help you in any way, shape, or form to grind that out. Don’t. You come back
stronger. You’re Superman because you let it go.
PERARDI: I just want to start my life over, you know?
YOUNGBLOOD: Well, my point is you let it go, all of these people look at you and say, “Wow. I
thought he was gonna light me up, knock my teeth out. No. Eric just looked at me and said, ‘I—Don’t
worry, I understand your position at the time. It’s a dead issue. Thanks for your support.” That’s it.
You’re—you might as well run for mayor of Cedar Park. Point I’m making is, it gets stopped. And it gets
solved. You get stronger fining, you get stronger assets. My friends become your friends. They’re serious
people. They’re not pussies by any stretch of the imagination, I assure you. But more importantly, they’re
connected. Remember, all of us to a certain degree had businesses. These guys didn’t. They have a title.
They don’t judge their life by the eighty grand a year and the G-14 rank. They look at it as, okay this is an
ASDA. This is a, a US prosecutor. This is a federal agent that works for the Central—these are serious
people that are trying to help you. They don’t need this kind of headache. I don’t need this headache. He
doesn’t need this headache. And we still want to because of the kids. We all want this put to fuckin’ bed.
PERARDI: Well, why isn’t Dan moving on her? That’s what I don’t understand.
YOUNGBLOOD: Dan’s waiting for me. To zero this out and drop those off. And they will be. Akiko is
waiting for me to take it to him. Akiko’s father is already drafting a letter, explaining everything from A
to Z. He was a federal prosecutor in Mexico.
FIEDLER (UCE): Mexico?
YOUNGBLOOD: Yes. He knows all about the shitheads that Rachel’s in bed with. It’s going to be out.
It will be turned over and she’s done. The closest office will be Houston. You don’t want Houston
prosecutors—
FIEDLER (UCE): So what happens to her?
YOUNGBLOOD: Rachel?
FIEDLER (UCE): Yeah.

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YOUNGBLOOD: She’ll be charged. With viola—th—they’ll start with the Treasury. And I’m guessing
she’ll turn Julie over six ways to Sunday.
FIEDLER (UCE): Uh huh.
YOUNGBLOOD: And then as soon as she admits to having one of those three accounts and not doing
the paper—she’s done. And that’s history. Each one of those counts is ten years. Each one is ten years,
because you lied on a federal form. You know as well—remember when you had to do the bullshit
background check?
FIEDLER (UCE): Yeah, yeah.
YOUNGBLOOD: You’re going—it’s very similar to that. What was the number one thing they said?
You lie on any one of this—
FIEDLER (UCE): Yeah, yeah.
YOUNGBLOOD: —and we can prove it you’ll get ten years. Same thing. Then you get your life back.
PERARDI: But the—but the whole thing with this was the beginning was the—about her and the—
YOUNGBLOOD: Custody.
PERARDI: —well, it was about her wanting me dead and, fuckin’ Arys—
YOUNGBLOOD: I’m trying not to rehash this, these two points.
PERARDI: I know, but—
YOUNGBLOOD: But if you want to take that chance with these kind of people?
PERARDI: I don’t want to take that chance, I just—
YOUNGBLOOD: No.
PERARDI: Again, what I told you was, I don’t want Mazzy’s mom, or—to be gone, I—if, if she’s not
guilty—if she’s guilty, then absolutely.
YOUNGBLOOD: Eric. Eric. Let me ask you a question. You ever hear the expression, how you do one
thing is how you do everything?
PERARDI: Yeah.
YOUNGBLOOD: So let me ask you a question. If someone cheats on their soulmate, their best friend,
their spouse? Would you do business with them, if you knew? I wouldn’t. What will you do to me, if you
were willing to cheat on your wife, your husband, or F your friends over? That’s the only thing I’m gonna
say to what you just said. This woman, is there any doubt in your mind that she’s been unloyal? And
unfaithful?
PERARDI: Well, I know she’s been unfaithful.
YOUNGBLOOD: Okay, you’re missing my point, though. Why would I take anything that person says
seriously? My marriage sucks right now. I’m not cheating. I’m not getting laid. Nothing. Because it’s
beneath me. I s—I, I made a commitment. Doesn’t matter what they did. I agreed to it. End of story. I
committed to it. Doesn’t matter if everyone else thinks it’s cool. I don’t. Just like weed now. Yeah, I’m,


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I’m not gonna tell people what to do. (1:14:00) You’re not gonna see me toking. And the reason’s very
simple. God forbid that’s the one time that they say, “I need you to take care of something.” And I’m
this—or into—that’s crazy to me. Someone breaks in, to baby Kota, and he’s dead because I wasn’t
sharp? That’s never gonna happen. So that’s why I would say that that s—statement? It’s unfair. To even
go down that road for yourself and for anyone else involved. Because if the person’s lying about that?
There’s no reason to. You know, if—you know, Gloria. Gloria. She made a comment one day. And she’s
like, “You know, your husband? I don’t worry about him.” And Gloria goes, “Oh no. I’ll tell you one
thing. He’s very honest. He doesn’t give a fuck what I think. He does not tell me what I want to hear. He
told me when we first got together, ‘Don’t ever ask me a question if you’re terrified about the answer.
Because I don’t want to do that. I’m not going to lie to you. There’s nothing th—that bad about me.
Moody, temperamental, cold? Probably. That’s about it.’” So my point is, if you ask me something, I will
ask you. And I will answer it. (1:15:00) I think that this situation we have a chance to put it to bed, and
we should take the opportunity. I think letting it get any farther than what it is right now, when we have a
chance to cash out—all of us profit, and more importantly the kids are safe, and the people that should be
punished will be? If that’s not the hill to die on and if that’s not the hill to stand on, then what are we
waiting for? Are we waiting for some particular shade of a green light? Because that doesn’t make any
sense to me. Tactically. I’m looking at it going we have every possible advantage. You always hear that:
“what are the tactics?” I don’t give a fuck about tactics. I care about logistics. What’s the wind? What’s
the altitude? What am I looking at? What’s the barometer say? All of those are more important than what
somebody’s chess plan was. These people, they think they’re smarter than they are. They’re not. Sooner
or later, that group that they’re playing games with is gonna turn on them. Let ‘em. You think the minute
they get picked up that Julie’s gonna be—do you think Toyota’s not gonna shut that down immediately?
(1:16:00) You think that Rachel’s gonna—you know—she put—you asked me why she worked before?
Because she could keep an eye on her. Here, here’s the snake. If the snake’s here, and I can’t see him,
he’s a threat. The snake’s here, I know where he is. I don’t have to worry about him. I understand he’s
dangerous. I can beat his ass from here. Here? No so much. That’s a problem. This, behind me, is what
I’m worried about. Just happens to be the proverbial knife. My point is, here? Nothing. It makes perfect
sense why Julie would want her around her. Unless you can explain the Butterfields’ account to me,
unless you can explain the BP account to me, unless you can explain Banco Popular to me. Alright, I’ll
listen. But my point is that you know—
PERARDI: I don’t know about any of that shit. Except for what you told me.
FIEDLER (UCE): Yeah, yeah. I think we’re good, man.
PERARDI: I mean—
FIEDLER (UCE): I’m sorry—starting to get into weeds deep and I’m like, all these accounts—
YOUNGBLOOD: Not necessary, I totally get it.
FIEDLER (UCE): —and shit you know, I don’t know—
YOUNGBLOOD: But I wanted you to know what the situation is.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: And respect me for—it’s not an easy conversation for me to have.
FIEDLER (UCE): Yeah, it’s just getting, getting so far I don’t even know—I’m just like—what the fuck
are we even talking about.

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PERARDI: It’s emotional for me, as you know. It’s emotional for me because I’ve been living it for a
year.
YOUNGBLOOD: No and I don’t take it personally and believe me he’s gone off on me, too.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: But, my point is, you have a chance to end it and get your life back—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —and that’s all I’m going to say, and I’m done selling it. The point is, you have a
chance to get your life back. You have people that actually care about you, that have some balls between
their legs. We’re not gonna be intimidated—
FIEDLER (UCE): Yeah.
YOUNGBLOOD: —we’re not gonna sit here and listen to somebody because they put a post. We know
the man, and that’s the end of it. We have faith in you.
FIEDLER (UCE): Yeah. Hey, you don’t have to sell it. I mean, I’m gonna do what I need to help you
out man.
PERARDI: Appreciate that.
YOUNGBLOOD: We’ve both got your back. And you—I’ll—expect me to conclude my business with
you a week or—a week to eight days from today. So by this time, you know that—by the end of next
week, we’re done. That fair? I don’t expect it to take anywhere near that long. I would expect Monday or
Tuesday next week we’re good. Fair enough?
FIEDLER (UCE): Yeah.
YOUNGBLOOD: And you hold everything or he holds it, or whatever you want.
FIEDLER (UCE): Yeah you can hold the—you hold it—
PERARDI: I’ve got the flag, yeah.
FIEDLER (UCE): So I can get you, I can get you the money first thing in the morning.
YOUNGBLOOD: Okay.
FIEDLER (UCE): Yeah.
YOUNGBLOOD: I need a commitment because I have flights to catch tomorrow. As long as that’s the
case—
FIEDLER (UCE): You good with that?
PERARDI: Yeah, I mean—I need his commitment.
FIEDLER (UCE): My old lady’s at the house man, and—
PERARDI: Oh yeah. He’s not gonna—
FIEDLER: —as soon as she hears the click-click-click-click-click-click-click-click—


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PERARDI: On the safe?
FIEDLER (UCE): Oh yeah. She’s like, what’re you doing? [laughs] I know, every time man I get it
open, pinch a little off, man. She’s always watching on my ass.
YOUNGBLOOD: Um. You can go grab the bat with me real quick.
PERARDI: Yeah.
YOUNGBLOOD: ‘Cause you’re taking him—you’re his ride, correct?
PERARDI: I gotta give him a ride, yeah.
YOUNGBLOOD: Okay, and then I can meet up with you tomorrow and pick up the money. You have
everything else, and I can make the airport—I’ll have no problem making it to the airport by eleven,
right? ‘Cause if I don’t make that flight, the next flight’s eight fifteen and I can’t meet who I need—
FIEDLER (UCE): Yeah it shouldn’t be a problem.
YOUNGBLOOD: As long as your word’s good, that’s good enough for me, and I’m sure it is. I’ll take
care of my end. But I can’t change that because I have people meeting me to help.
FIEDLER (UCE): Yeah, okay.
YOUNGBLOOD: We’re on the same page? That’s good enough for me.
FIEDLER (UCE): Alright. Good to meet you man.
YOUNGBLOOD: You, too. Will you ride with us to Second to grab the bat?
FIEDLER (UCE): Yeah, I don’t—I—
YOUNGBLOOD: Oh yeah, you have no choice.
PERARDI: Yeah.
FIEDLER (UCE): No choice.
YOUNGBLOOD: Alright, we’re gonna swing over to the pet store over here, that’s where James is
holding it. Sorry that your food wasn’t that good.
PERARDI: No it was good, I just, uh, sometimes cream doesn’t always… [unintelligible] you driving?
YOUNGBLOOD: The Edge.
PERARDI: Oh yeah.
YOUNGBLOOD: So a little old lady knocked me off the road at Navy Federal Credit Union.
PERARDI: Uh huh.
YOUNGBLOOD: She broke her arm, broke her leg. I messed my hair up.
FIEDLER (UCE): Oh shit.
YOUNGBLOOD: I lost my 4Runner. So, they had a demo, and everyone tells me it’s the soccer mom
car. I actually like the way it drives though, so, I don’t have anything to complain about it.


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PERARDI: Oh this—
YOUNGBLOOD: Yeah, my little Edge.
FIEDLER (UCE): Up ahead, that black one down here?
YOUNGBLOOD: Yeah.
FIEDLER (UCE): Not bad
YOUNGBLOOD: It’s good transportation.
FIEDLER (UCE): Yeah.
PERARDI: You want me to follow you?
YOUNGBLOOD: Yeah. Or you want to just ride over and I’ll bring you back here?
PERARDI: Doesn’t—I’ll—
FIEDLER (UCE): You ride over, I’ll wait. I—I’ll just wait.
YOUNGBLOOD: You sure?
FIEDLER (UCE): Give me the keys. Throw me your keys.
PERARDI: Oh yeah, you need the keys. You don’t want to wait in the hot car by yourself?
YOUNGBLOOD: You gonna be okay by yourself?
FIEDLER (UCE): Yeah, yeah,. I’ll be good.
[long pause]
YOUNGBLOOD: Thirty four inches, thirty four ounces.
FIEDLER (UCE): Wow.
YOUNGBLOOD: That’s what made the Gehrig bat famous.
FIEDLER (UCE): Not for sale.
YOUNGBLOOD: No. Not for sale. Well. It’s a pleasure. Glad we can help our friend out. You ever need
anything—
FIEDLER (UCE): Yeah, I got you—
YOUNGBLOOD: Anything. Semper fi.
FIEDLER (UCE): Sam, Mary, young, zero, three, six, three. Sam, Mary, young, zero, three, six, three.
PERARDI: He’s got my back unconditionally. He loves me. He’s just gonna take care of me. I mean—
everything.
FIEDLER (UCE): I know.
PERARDI: That’s good. It’s good to have friends like that.
FIEDLER (UCE): Oh yeah. Yup. Good buddy. Good buddy. Very interesting.

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PERARDI: Alright. Drive by and then drive back. In case someone’s watching us.
FIEDLER (UCE): Yeah, take a—take a completely long way.
PERARDI: Yeah.
FIEDLER (UCE): What was the other guy driving? Have you met them before?
PERARDI: Yeah, James. He’s got a—like a fuckin’, uh, mini-what, mini—
FIEDLER (UCE): Where’d y’all meet him at, Pappadeaux’s?
PERARDI: No, at this, uh, headshop over there by the, by the fuckin’ uh, weird, um, strip place over
there. That Angus Plaza has like a tattoo, and a smoke shop, a sex shop. The back side of it was a pet
store. And he was sitting out in front of it. In his car, waiting.
PERARDI: [unintelligible] followed us out of the parking lot.
FIEDLER (UCE): Hm?
PERARDI: I said, the other guy, Marvin. No one really knows where he’s at. So I was just making sure
he wasn’t the one following us out of the parking lot.
FIEDLER (UCE): That Tahoe?
PERARDI: Yeah.
FIEDLER (UCE): No, that’s our guy.
PERARDI: What?
FIEDLER (UCE): That might our guy.
PERARDI: Oh, right. He sells my, uh, ex-wife being a terrible person.
FIEDLER (UCE): [unintelligible]
PERARDI: Definitely following us. You think it’s your guys?
FIEDLER (UCE): Yeah, yeah. Yeah, yeah, yeah, yeah, yeah. Need rugs? I wonder what he means by
rugs?
PERARDI: Drugs.
FIEDLER (UCE): [laughs]
PERARDI: Pretty sure that’s what he means. Do you want me to stay away from the building or go to
the—
FIEDLER (UCE): Uh, just take the long way to the building, just in case there’s a third person, we don’t
s—we don’t know where he is.
FIEDLER (UCE): We’re so close to him anyway. But you know the area here better than I do.
PERARDI: Yeah.
FIEDLER (UCE): I ain’t from around here.


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PERARDI: Where, where you from [unintelligible]. Guess you can’t tell me that, can you?
FIEDLER (UCE): Yeah, [unintelligible].
PERARDI: I just appreciate you helping me out.
FIEDLER (UCE): Yeah, go ahead and just cut that right up there by the light.
PERARDI: Here?
FIEDLER (UCE): Yeah. [unintelligible] behind us.
PERARDI: [unintelligible] something straight out of a fucking spy movie at this point.
FIEDLER (UCE): [unintelligible] I’ve seen this before.




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                                                                           GOVERNMENT
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                                                                         EXHIBIT
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  4/6/2022 Sale of 1st Nat. Confed. Flag to Lakota Youngblood                                                              $ 85,000.00

            Paments Made                                                        Regular         Extra
4/14/2022                            Payment via wire                            7,100.00
4/20/2022                            Payment via wire                            5,000.00
4/26/2022                            Payment via wire                            4,100.00
5/12/2022                            Payment via wire                                           5,000.00
5/16/2022                            Payment via wire                           20,600.00
 6/3/2022                            Payment via wire                                           5,000.00
6/16/2022                            Payment via wire                                           2,000.00
 8/3/2022                            Payment via wire                            2,000.00
8/11/2022                            Payment via wire                              500.00
8/17/2022                            Payment via wire                              400.00
8/23/2022                            Payment via wire                            3,000.00
 9/1/2022                            Payment via wire                              500.00


 1/31/2023 Said he could not pay on Friday, the 3rd, but would pay on Tuesday, the 7th and would pay an extra $5,000 for the delay.

 2/20/2023 Week of 02/20/23 - promised $20k over Ant. Due

 2/28/2023                                                                                      5,000.00
 3/10/2023                                                                        2,000.00
? / ? / 2023 (after 3/10 - need to enter exact date)                                500.00

 4/21/2023 Total Paid On Invoice                                              $ 45,700.00
           Total Paid w/ Designation by client as extra for late payment                     $ 17,000.00
           Total Overall Payments                                                                          $   62,700.00
           Balance Due (if extra payments are accepted as extra)                                                           $ 39,300.00
           Balance Due (if extra payments are considered part of sale)                                                     $ 22,300.00
                                                                                                                                           GOVERNMENT
                                                                                                                                             EXHIBIT
                                                                                                                                         CASE
                                                                                                                                               A23CR135-RP
                                                                                                                                         NO.____________________

                                                                                                                                         EXHIBIT
                                                                                                                                                       77
                                                                                                                                         NO.____________________
